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 3
 4                         UNITED STATES DISTRICT COURT
 5                      EASTERN DISTRICT OF WASHINGTON
 6
 7 UNITED STATES OF AMERICA,                       No. CR-13-008-WFN-7

 8                      Plaintiff,                 ORDER GRANTING
 9                                                 MOTION TO MOFIFY
     vs.
10
11 ASHLEY BRITANY ARREDONDO,
12
                        Defendant.
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14         On June 13, 2013, Defendant’s release conditions were modified to permit
15   Pretrial Services to alter Defendant’s curfew as needed to permit Defendant to be
16   employed, provided, however, employment was not to interfere with her treatment.
17   Defendant has been fully compliant with her release conditions and now has her 8-
18   year-old son living with her and her parents. She now asks to have a curfew that
19   would allow her more time with her son and caregiving activities as a parent.
20   Pretrial Services does not oppose the request. The Motion, is granted, provided
21   however, Defendant shall use the additional time for lawful employment,
22   treatment, bonding activities with her son, spiritual needs, caregiving activities
23   such as buying groceries and taking her son to school and to medical appointments.
24         Defendant may not attend parties or other activities that would put her at risk
25   of being around individuals using alcohol or unlawful drugs. Accordingly, to the
26   extent she may wish to attend social activities, those activities shall be pre-
27   approved by Pretrial Services. In addition, Defendant must attend at least two self-
28
     ORDER GRANTING MOTION TO MODIFY - 1
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 1   help meetings a week in addition to any other counseling. Electronic monitoring
 2   and all other conditions of release remain.
 3         The Motion to Modify, ECF No. 1306, to permit Defendant to be away from
 4   her home from 8:00 a.m. to 10:00 p.m. (and later as permitted by Pretrial for
 5   employment) is GRANTED.
 6         Defendant shall appear for a status conference September 25, 2013, at 1:30
 7   p.m., before a Magistrate Judge.
 8         DATED August 28, 2013.
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10                             S/ CYNTHIA IMBROGNO
                         UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING MOTION TO MODIFY - 2
